Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 1 of 35

16-110/nsm/jsg
IN THE CIRCUIT COURT OF THE
FIFTEENTH JUDICIAL CIRCUIT
IN AND FOR PALM BEACH COUNTY, FLORIDA
CASE NO.: 50 2015 CA 014268 XXXX MB AJ
BYRON L. HARRIS, JR.

Plaintiff,
vs.
CITY OF BOYNTON BEACH,
MICHAEL BROWN, MATTHEW MEDEIROS,
STEPHEN MAIORINO, RONALD RYAN,
JUSTIN HARRIS, CORY HERNY,
ALFRED MARTINEZ, and
Other unknown officers,

Defendants.
f

DEFENDANT, CITY OF BOYNTON BEACH’S, MOTION TO DISMISS:
PLAINTIFF’S COMPLAINT AND INCORPORATED MEMORANDUM OF LAW

Defendant, CITY OF BOYNTON BEACH (hereinafter “City”), by and through its
undersigned counsel and pursuant to Federal Rule of Civil Procedure 12(b)(6) and Florida Rule
of Civil Procedure 1.140(b), hereby files this, its Motion to Dismiss Plaintiff, BYRON
HARRIS’, Complaint, and states as follows:

I. Introduction

On December 23, 2015, Plaintiff filed a Complaint consisting of nineteen (19) counts
against eight (8) named defendants as well as “[o]ther unknown officers.” Of the nineteen
counts which Plaintiff has attempted to set forth, two (2) are directed at City. Plaintiffs first
count against City, Count I of the Complaint, attempts to state a cause of action for “Violation of

Civil Rights While Acting Under Color of State Law” under 42 U.S.C. §1983 and the Fourth and

 

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 2 of 35

Fourteenth Amendments of the United States Constitution. Plaintiff’s second count against City,
Count II of the Complaint, attempts to state a cause of action for “State Law Battery.” A true
and correct copy of Plaintiff’s Complaint is attached hereto as Exhibit A.

Count I of Plaintiff's Complaint alleges that Plaintiff’s constitutional rights were
deprived and violated by City’s police officers, Defendants, MICHAEL BROWN, MATTHEW
MEDEIROS, STEPHEN MAIORINO, RONALD RYAN, JUSTIN HARRIS, CORY HERNY,
and ALFRED MARTINEZ, as well as other unknown officers, while they arrested him
following a high speed chase in Boynton Beach, Florida on or about August 20, 2014. Plaintiff
further alleges that these constitutional violations and deprivations were the result of “numerous
areas of deliberate indifference and/or adopted customs or policies” on the part of City.

Count II of Plaintiffs Complaint alleges that the above-mentioned individual officers
intentionally battered Plaintiff without his consent. Plaintiff further alleges that City is
vicariously liable for the actions of its officers, which Plaintiff contends constituted excessive
force committed during the course and scope of the officers’ employment for City.

As set forth below, Count I of Plaintiffs Complaint, which requires the application of
federal law’, and Count II of Plaintiff's Complaint, which requires the application of Florida law,
each fail to state a cause of action against City. As set forth in Plaintiff's Complaint, Plaintiff
has failed to satisfy the pleading requirements for a claim under 42 U.S.C. §1983 by failing to
allege sufficient allegations to support his claim for a deprivation of his Constitutional rights
against City. Furthermore, in light of Plaintiffs allegations against the individual Defendant
officers, Plaintiff is precluded from bringing a state law battery claim against City based upon

Florida’s sovereign immunity statute set forth in §768.28(9), Fla. Stat. Therefore, Counts I and

 

' City has sought removal of this action to federal court pursuant to 28 U.S.C. §§1331, 1441 (a),
and 1446(b)(3).

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 3 of 35

Il of Plaintiff’s Complaint should be dismissed and City should be dismissed as a party
defendant from this action.
IL Standard for Dismissal
a. Federal standard

Federal Rule of Civil Procedure 8(a) requires a complaint to contain “a short and plain
statement of the claim showing that the pleader is entitled to relief[,]” and while the rule does not
require “detailed factual allegations[,|” the factual allegations set forth are required to “raise a
right to belief above the speculative level[.]” Fed R. Civ. P. 8(a)(2); Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 555 (2007). “To survive a motion to dismiss, a complaint must contain
sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
Ashcroft v. Igbal, 556 U.S. 662 (2009) (quoting Twombly, 550 U.S. at 570). Rule 8(a) “does not
unlock the doors of discovery for a plaintiff armed with nothing more than conclusions.” Jd. at
679,

When considering a motion to dismiss, a court must view the allegations of the complaint
in the light most favorable to the plaintiff. Rule 12(b)(6), Fed. R. Civ. P.; Jackson v. Okaloosa
County, 21 F. 3d 1531, 1534 (11th Cir. 1994). Although factual allegations must be accepted as
true, for the purposes of the motion, a court is not required to accept conclusory allegations and
unwarranted factual deductions as true. Gersten v. Rundle, 833 F. Supp. 906, 910 (S.D. Fla.
1993). Moreover, a court may not assume that a plaintiff can prove facts that the plaintiff has not
alleged or that a defendant has violated laws in ways that have not been alleged. See Beck v.
Interstate Brands Corp., 953 F. 2d 1275, 1276 (1 1" Cir, 1992). Likewise, the Court is not bound
to accept as true a legal conclusion couched as a factual allegation. See B.H. Papasan v. Allain,

478 U.S. 265, 286, 106 S. Ct. 2932, 92 L. Ed 2d 209 (1986). Although the federal rules ascribe
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 4 of 35

to liberality in pleadings, bald assertions and conclusions of law will not defeat a properly
supported motion to dismiss. See Leeds v. Meltz, 85 F. 3d 51, 53 Qd Cir. 1996).
b. Florida standard

“In order to state a cause of action, a complaint must allege sufficient ultimate facts to
show that the pleader is entitled to relief.” Garnac Grain Co., Inc. v. Mejia, 962 So. 2d 408, 410
(Fla. 4th DCA 2007). “A motion to dismiss for failure to state a cause of action admits all well
pleaded facts as true, as well as reasonable inferences that may arise from those facts.” South
Riverwalk Investments, LLC v. City of Ft. Lauderdale, 934 So. 2d 620, 622 (Fla. 4th DCA 2006).
However, “[a] court may not go beyond the four corners of the complaint” in determining the
sufficiency of the pleadings. Mejia, 962 So. 2d at 410; see also Kreizinger v. Schlesinger, 925
So. 2d 431, 432-33 (Fla. 4th DCA 2006). A motion to dismiss does not admit allegations that are
contradicted by the record or by matters of which the court may take judicial notice. Byrne
Realty Co. v. South Florida Farms Co., 89 So. 318, 327 (Fla. 1921); Mills v. Ball, 372 So. 2d
497, 498 (Fla. lst DCA 1979).

“When exhibits are attached to a complaint, the contents of the exhibits control over the
allegations of the complaint.” Duke v. HSBC Mortg. Servs., LLC, 79 So. 3d 778, 780 (Fla. 4th
DCA 2011) (citing BAC Funding Consortium, Inc. v. Jean-Jacques, 28 So. 3d 936, 938 (Fla. 2d
DCA 2010)); Khan v. Bank of America, 58 So. 3d 927, 927 (Fla. Sth DCA 2011). Thus, because
exhibits attached to a complaint are controlling, where allegations of a complaint are
contradicted by exhibits, the exhibits control. Ginsberg v. Lennar Florida Holdings, Inc., 645 So.
2d 490, 494 (Fla. 3d DCA 1994).

Tt. Plaintiff fails to state a claim under 42 U.S.C. §1983

A municipality may only be liable under 42 U.S.C. §1983 if one of its customs or policies
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 5 of 35

deprives an individual of his or her federal constitutional rights, but a municipality cannot be
liable under §1983 on the basis of respondeat superior. See Monell v. Dep't of Social Servs., 436
U.S. 658, 691 (1978); Griffin v. City of Opa Locka, 261 F, 3d 1295, 1307 (2001). A municipality
is liable under §1983 only “when execution of a government’s policy or custom, whether made
by its lawmakers or by those whose edicts or acts may fairly be said to represent official policy,
inflicts the injury[.]” Monel/, 436 U.S. at 694; Mercado v. City of Orlando, 407 F. 3d 1152, 1161
(11th Cir. 2005); see also Cooper v. Dillion, 403 F. 3d 1208, 1221 (11th Cir. 2005)(‘[ T]he
plaintiff has the burden to show that a deprivation of constitutional rights occurred as a result of
an official government policy or custom.”). A plaintiff must show that the municipality’s
deliberate action was taken with the “requisite degree of culpability and demonstrate a direct
causal link between the action and the deprivation of federal rights”; it is not enough to merely
identify conduct attributable to the employees of a municipality. Bd. of Cty. Com’rs of Bryan
Cty. v. Brown, 520 U.S. 397, 404 (1997).

“A plaintiff... has two methods by which to establish a [municipality’s] policy: identify
either (1} an officially promulgated [municipal] policy or (2) an unofficial custom or practice of
the [municipality] shown through the repeated acts of a final policymaker for the [municipality].”
Grech vy. Clayton County, 335 F. 3d 1326, 1329 (11th Cir. 2003). In order demonstrate the
existence of a policy, a plaintiff must demonstrate a decision officially adopted by a municipality
or created by an official of such rank that he or she could be said to be acting on behalf of the
municipality. See Sewell v. Town of Lake Hamilton, 117 F. 3d 488, 489 (11th Cir. 1997). In
order to prove municipal liability under §1983 based upon a custom, “a plaintiff must establish a
widespread practice that, ‘although not authorized by written law or express municipal policy, is

so permanent and well settled as to constitute a ‘custom or usage’ with the force of law.’” Brown
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 6 of 35

v. City of Ft. Lauderdale, 923 F. 2d 1474, 1481 (11th Cir. 1991) (quoting City of St. Louis v.
Praprotnik, 485 U.S. 112, 138 (1988)); Monell, 436 U.S. at 691. Random or isolated incidents
do not establish a custom or policy and failure to stop such isolated incidents does not amount to
tacit authorization. Depew v. City of St. Mary's, 787 F. 2d 1496, 1499 (11th Cir, 1986).

A municipality’s failure to correct constitutionally offensive actions of its employees can
rise to the level of a custom or policy “if the municipality tacitly authorizes these actions or
displays deliberate indifference” towards the misconduct. Brooks v. Scheib, 813 F. 2d 1191,
1193 (11th Cir. 1987) [Emphasis added]. “‘[D]eliberate indifference’ is a stringent standard of
fault, requiring proof that a municipal actor disregarded a known or obvious consequence of his
action.” Connick v. Thompson, 563 U.S. 51, 61 (2011) (citing Brown, 520 U.S. at 410).
“Deliberate indifference” is a high standard of proof made “intentionally onerous” because
“tmposing liability on a municipality without proof that a specific policy caused a particular
violation would equate to subjecting the municipality to respondeat superior liability — a result
never intended by section 1983.” Gold v. City of Miami, 151 F. 3d 1346, 1351 at n. 10 (11th Cur.
1998).

“To establish a ‘deliberate or conscious choice’ or such ‘deliberate indifference,’ a
plaintiff must present some evidence that the municipality knew of a need to train and/or
supervise in a particular area and the municipality made a deliberate choice not to take any
action.” Gold, 151 F, 3d at 1351 (internal citations omitted); see also Gomez v. Lozano, 759 FE.
Supp 2d 1335, 1338 (S.D. Fla. 2011)( To show deliberate indifference to the rights of those with
whom police interact in order to state a §1983 failure to train claim, a plaintiff must show a
pattern of improper training and the municipality’s awareness of the training program’s

deficiencies.). However, “without notice of a need to train or supervise in a particular area, a
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 7 of 35

municipality is not liable as a matter of law for any failure to train and supervise.” Id “A
municipality’s culpability for a deprivation of rights is at its most tenuous where a claim turns on
a failure to train.” Connick, 563 U.S. at 61. A municipality may be put on notice of a need to
train or supervise in two ways: (1) “if the [municipality] is aware that a pattern of constitutional
violations exists, and nevertheless fails to provide adequate training, it is considered to be
deliberately indifferent”; and (2) “deliberate indifference may be proven without evidence of
prior incidents, if the likelihood for constitutional violation is so high that the need for training
would be obvious.” Lewis v. City of West Palm Beach, 561 F. 3d 1288, 1293 (11th Cir. 2009).
Here, Plaintiff has failed to sufficiently allege how the execution of a custom or policy of
City has resulted in the deprivation of his constitutional rights. Rather, Plaintiff is seeking to
impose vicarious liability on City under the guise of a §1983 claim. Plaintiff has set forth a
litany of generally stated conclusory allegations in a failed effort to support the claim that his
alleged “constitutional violations and deprivations were caused by City’s numerous areas of
deliberate indifference and/or adopted customs or policies...” Exh. A at 29 [Emphasis added].
As is clear from Plaintiff's use of the conjunction “and/or” in stating his claim against City,
Plaintiff has not identified the custom or policy of City which forms the basis of his claim, but
instead has taken a “see what sticks” approach by setting forth various conclusory allegations
lacking the requisite factual support. Without identifying the specific policy or policies which
allegedly caused Plaintiffs alleged Constitutional violation, Plaintiff is merely seeking to
improperly subject City to respondeat superior liability. See Gold, 151 F. 3d at 1351. Plaintiff
has failed to set forth a cause of action demonstrating a direct causal link between the action(s)
of City and the alleged deprivation of his federal rights; he has merely alleged conduct

attributable only to the individual Defendant officers. See Brown, 520 U.S. at 404.

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 8 of 35

In order to state his claim against City, Defendant is required to establish a policy of City
by either identifying an officially promulgated policy, or an unofficial custom or practice of City
through repeated acts of Chief Katz, the final policymaker alleged by Plaintiff. See Grech, 335
F. 3d at 1329. Nowhere in Plaintiff's allegations against City has Plaintiff alleged that the
conduct of the individual Defendant officers was the result of an official decision made by City
to adopt or implement a policy. Thus, Plaintiff has failed to support its §1983 claim against City
by identifying an officially promulgated policy.

The other manner of establishing a policy — showing an unofficial custom or practice
shown through the repeated acts of a final policymaker — would require Plaintiff make
allegations sufficient to demonstrate a widespread practice so permanent and well settled that it
constitutes a “custom or usage” with the force of law. See Brown, 923 F. 3d at 1481. Again,
Plamtiff has failed to make factually sufficient allegations to support the claim that the alleged
Constitutional violations were the result of an unofficial custom or practice of City. Throughout
the Complaint, Plaintiff claims that the incident of August 20, 2014 was not an isolated incident,
but cites to no other similar past incidents to support his claim that City had a custom or policy in
place which resulted in Plaintiff's alleged constitutional violation. Plaintiff only makes general
claims and allegations, such as: City accepted false police reports (Exh. A at 717); City, with the
knowledge of Chief Katz, failed to properly, discipline, restrict, and control employees known to
be reckless and violent (dd at 17.c.1); City failed to establish a system for dealing with
complaints of police misconduct Ud. at [17.c.2); City, through Chief Katz, adopted an unofficial
custom or policy of excessive force (/d. at §22); and City failed to investigate claims of excessive
force and failed to appropriately discipline officers for same Ud. at 923). Yet despite all of these

conclusory allegations, Plaintiff did not cite to any instances of falsified reports, improper

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 9 of 35

discipline, inadequate handling of complaints of misconduct, etc., which would lend support to
his claim under §1983.

Plaintiff further sets forth several general allegations which he claims demonstrate
customs or policies sufficient to state a claim under §1983 in paragraph 29(a)-(j) of his
Complaint, including failure to train Ud. at {[29(e)), but once again these are mere conclusory
accusations without factually supportive allegations. Specifically, with regard to Plaintiffs
claim that City failed to train its officers in the use of reasonable force, Plaintiff has failed to
present any sufficient factual allegations demonstrating that City knew of a need to train its
officers in this area and made the deliberate choice not to, nor has Plaintiff alleged any facts to
demonstrate the existence of a pattern of improper training and City’s awareness of its
deficiencies. See Gold, 151 F. 3d at 1351; Gomez, 759 F. Supp. at 1335. Additionally, as
Plaintiff has not sufficiently identified how City has allegedly failed to train its officers, it cannot
be said that the likelihood of a constitutional violation as a result thereof is so high that the need
for training was obvious. See Lewis, 561 F. 3d at 1293. Thus, as Plaintiff has failed to set forth
sufficient allegations to demonstrate that City was on notice of a need to train its officers in the
use of force and deliberately chose not to do so, as a matter of law Plaintiff has failed to state a
failure to train claim against City.

Moreover, Plaintiff has failed to allege how Chief Katz, as a final policymaker, has
engaged in repeated acts to demonstrate that City had in place any Constitutionally offensive
policies, as is required. See Grech, 335 F, 3d at 1329. Plaintiff has only conclusively alleged that
City’s officers have exhibited a pattern and practice of misconduct accepted or condoned by
Chief Katz. Exh. A at 23. However, this is a mere conclusion which is insufficient to “unlock

the doors of discovery” for Plaintiff. See Ashcroft, 556 U.S. at 679.

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 10 of 35

Additionally, Plaintiff has failed to satisfy the “deliberate indifference” standard by
failing to allege sufficient factual allegations to demonstrate that City knew of a need to train
and/or supervise and deliberately opted not to do so, See Gold, 151 F. 3d at 1351. To this end,
Plaintiff only claims (again, without factually sufficient supporting allegations) that City had
prior notice that the individually named Defendant officers had propensities “to be violent, to
falsify police reports, and/or intentionally abuse their positions as police officers, but took no
steps to prevent Defendants or correct their abuse of authority or to discourage their unlawful use
of authority.” /d@ at 24. There are no allegations throughout Plaintiffs Complaint which cite any
incidents of the violent behavior, falsification of reports, or abuse of authority of which Plaintiff
complains, nor are there any allegations setting forth the manner or means by which City was
ever notified of such issues.

Plaintiff's Complaint consists of a great many general accusations against City of
“institutionalized practices,” “unofficial custom(s) or polic(ies)... adopted and approved by
[City] Chief Jeffrey Katz,” and “a pattern and practice of misconduct... accepted and/or
condoned by Police Chief Jeffrey Katz as a final policymaker[.]” See Exh, A at FY17(c), 22, and
23. Plaintiff further alleges that “[t]hese are not isolated instances” and that “City had prior
notice of the propensities of the [individual Defendant officers] to be violent, falsify police
reports, and/or intentionally abuse their positions as police officers,” but took no remedial
measures. Id. at [{[23-24. Yet these accusations amount to no more than conclusory allegations,
as Plaintiff has failed set forth any factual support for these claims. Therefore, without more,
Plaintiffs Complaint is insufficient and this Court is not permitted to assume that City has
violated Plaintiff's Constitutional rights in ways which have not been alleged. See Twombly, 550

U.S. at 555; Ashcroft 556 U.S. at 679; Gersten, 833 F. Supp. at 910; Beck, 953 F. 2d at 1276.

10

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 11 of 35

Moreover, with the exception of Plaintiff’s bald, conclusory claims that the acts or omissions
alleged are not isolated incidents and are part of a pattern ot practice, there are no factual
allegations sufficient to show that the actions alleged by Plaintiff were not random or isolated
occurrences, and such incidents do not rise to the level of a custom or policy. See Depew, 787 F.
2d at 1499.

Plaintiffs Complaint is founded entirely upon conclusory allegations devoid of factual
support to demonstrate a pattern or practice of actions by City in violation of constitutional rights
so as to show a custom or policy of City which is sufficient to give rise to Plaintiff's §1983
claim. Plaintiff is required to demonstrate that City took deliberate action which was directly
causally linked to the deprivation of his federal rights, but he has failed to make. allegations
sufficient to do so. As such, Plaintiff's Complaint would require an assumption that City has
committed violations in ways which have not been alleged. As a result of these pleading
deficiencies, it would appear as though Plaintiff is seeking to simply impose vicarious liability
upon City for the alleged actions of its officers on August 20, 2014. However, a municipality
cannot be liable under §1983 on the basis of respondeat superior and can only be liable when the
execution of its policy or custom inflicts the claimed injury. Plaintiff has failed to adequately
identify the policy it claims caused his injury; has failed to identify how the City, or its fmal
policy maker, implemented such a policy through repeated acts; and how such policy directly
caused his injury. As such, Plaintiff has failed to state a cause of action against City for a
constitutional violation pursuant to 42 U.S.C. §1983 and, therefore, Count I of Plaintiff's
Complaint must be dismissed

IV. Plaintiff fails to state a claim for battery under Florida law

Under Florida law, an officer cannot be named as a defendant in any action for any act in

11
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 12 of 35

the scope of his or her employment unless he or she acted “in bad faith or with malicious purpose
of in a manner exhibiting wanton and willful disregard of human rights, safety, or property.”
$768.28(9), Fla. Stat. Where an officer commits an act while acting outside the course and
scope of his or her employment or commits an act in bad faith or with malicious purpose or in a
manner exhibiting wanton and willful disregard, the state or its subdivisions shali not be lable in
tort for the acts of the officer. Jd. Therefore, pursuant to §768.28(9), Fla. Stat., in order to bring
a claim for battery against an individual officer, the plaintiff necessarily must be alleging that the
officer acted outside the course and scope of his employment or acted in bad faith or with
malicious purpose or in a manner exhibiting wanton and willful disregard. [urthermore,
pursuant to §768.28(9), Fla, Stat., a plaintiff who brings a battery claim against an individual
officer is necessarily barred from bringing a battery claim against the municipal entity which
employs the officer.

Indeed, Florida’s sovereign immunity statute renders liability for officers and
municipalities mutually exclusive. Perez v. School Bd. of Miami-Dade Cty, 917 F. Supp. 2d
1261, 1268 (S.D. Fla. 2013). A municipal entity is immune from suit when its employee does
not act within the scope of employment or acts in bad faith or with malicious purpose. Willis v.
Dade County School Bd., 411 So, 2d 245, 246 (Fla. 3d DCA 1982). A municipal entity is
entitled to sovereign immunity on an arrestee’s claims for battery where the arrestee has alleged
malicious, wanton, or willful conduct by the police officers employed by the municipal entity.
Moore v. Miami-Dade County, 302 F. SUpp. 2d 1224, 1235 (S.D. Fla. 2007); see also Gregory v.
Miami-Dade County, 86 F. Supp. 3d 1333, 1336 (S.D. Fla. 2014\(County was entitled to
sovereign immunity under Florida law from any vicarious liability for claims for battery based

on the alleged conduct of the county police officer).

12

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 13 of 35

In the instant case, Plaintiff alleges that he surrendered to the police verbally as well as
by the placement of his hands, yet the officers nevertheless “violently yanked Plaintiff... [from
his] vehicle, threw [him] to the ground, and immediately began to hit, punch, kick, knee, ‘tase’,
and otherwise repeatedly and violently beat [him], while other officers watched without
intervening.” Exh. A at 915. Plaintiff further described the incident by stating that although he
“voluntarily stopped his vehicle and surrendered, he was dragged out of his vehicle and brutally
beaten by at least five [City] [o]fficers.” Jd at “Exhibit A” and “B.” Plaintiff further alleges that
these officers thereafter submitted false police reports in an apparent effort to conceal their
alleged malfeasance. See fd. at JJ16-17.

Plaintiff reasserts and re-alleges these allegations under Count JJ against City. The
alleged conduct of the officers during Plaintiff's arrest on August 20, 2014 exceed the standard
of being committed in bad faith or with malicious purpose or in a manner exhibiting wanton and
willful disregard for human rights. Jn light of Plaintiff's allegations, City is immune from
liability for Plaintiffs claims under Count II and, thus, dismissal is warranted.

Y. Conclusion

For the reasons set forth herein, Plaintiff fails to state any cause of action against City.
Count I of Plaintiff’s Complaint fails to satisfy the pleading requirements for a claim under 42
U.S.C. §1983. Furthermore, Plaintiff is precluded from bringing Count II based upon Florida’s
sovereign immunity statute. Therefore, Counts I and II of Plaintiffs Complaint should be
dismissed and City should be dismissed as a party defendant from this action.

WHEREFORE, Defendant, CITY OF BOYNTON BEACH, respectfully requests that
this Honorable Court enter an Order dismissing Plaintiff's Complaint, with prejudice, removing

City as a party defendant, and granting any other relief deemed just and proper

13

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 14 of 35

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy hereof has been furnished by e-service
q Ada.
to all parties on the attached Counsel List this 2 @ day of ) anve" 2016.

ROBERTS, REYNOLDS, BEDARD & TUZZIO, PLLC
470 Columbia Drive, Bldg. Ci01

West Palm Beach, FL 33409

Phone: 561-688-6560/Fax: 561-688-2343

E-Service: service LHR@rrbpa.com

Email: lreynolds@rrbpa.com
Attorneys for Defendant City of Boynton Beach

 

Florida Bar No: 380687

14

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 15 of 35

STYLE:
CASE NO.:

OUR FILE NO.: 16-110

HARRIS v. CITY OF BOYNTON BEACH, et al.
50 2015 CA 014268 XXXX MB AJ

COUNSEL LIST

LINNES FINNEY, JR., ESQ.

JULIA A. FARKAS, ESQ.

Greenspoon Marder, P.A.

145 NW Central Park Plaza, Suite 200

Port St. Lucie, FL 34986

Counsel for Plaintiff

PHONE: 772-873-5900

FAX: 772-873-3101

E-SERVICE: linnes.finney@gmlaw.com
julia. farkas(@emlaw.com

FBN: 353671 / 027740

MICHAEL T. BURKE, ESQ.
Johnson, Anselmo, Murdoch, Burke,
Piper & Hochman, P.A.

2455 E. Sunrise Blvd., Suite 1000
Ft. Lauderdale, FL 33304

Counsel for Defendant Brown
PHONE: 954-463-0100

FAX: 954-463-2444

E-SERVICE: burke@jambg.com

cardona@jambg.com
FBN: 338771

HARRIET LEWIS, ESQ.
GARY K. OLDEHOFF, ESQ.
Lewis Stroud & Deutsch, PL
1900 Glades Rd., Suite 251
Boca Raton, FL 33431

Counsel for Defendant Medeiros
PHONE: 561-826-2800 x-101
FAX: 561-826-2828

E-SER VICE: hlewis@Isdlaw.net
goldehoff@Isdlaw.com
jwright@|sdlaw.net

kklein@Isdlaw.net
FBN: 331015 / 449679

15

BRUCE W. JOLLY, ESQ.

Purdy Jolly & Giuffireda, P.A.
2455 E. Sunrise Blvd., Suite 1216
Ft. Lauderdale, FL 33304
Counsel for Defendant Matorino
PHONE: 954-462-3200

FAX: 954-462-3861

E-SER VICE:
EMAIL: bruce@purdylaw.com

FBN: 203637

ROBERT H. SCHWARTZ, ESQ.
McIntosh Schwartz, PL

888 SE 3" Ave., Suite 201

Ft. Lauderdale, FL 33316

Counsel for Defendant Ryan
PHONE: 954-556-1483

FAX: 954-760-953 1

E-SERVICE:

EMAIL: rhs@mcintoschwartz.com
FBN: 301167

OSCAR MARRERO, ESQ.
Marrero & Wyoler
2600 S. Douglas Rd., Ph. 4

-Coral Gables, FL 33134

Counsel for Defendant Harris
PHONE: 305-446-5528
FAX:305-446-0995
E-SERVICE:

EMAIL: oem@marrerolegal.com
FBN: 372714

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 16 of 35

DON STEPHENS, ESQ.
Olds & Stephens, P.A.

312 11" St.

West Palm Beach, FL 33401
Counsel for Defendant Herny
PHONE: 561-832-6814
FAX: 561-832-4766
E-SERVICE:

EMAIL; dstephens@oslegal.com
FBN: 604208

ROBERT OKON, ESQ.

Clarfield, Okon, Salomone & Pincus, P.L.
500 S. Australian Ave., Sutte 730

West Palm Beach, FL 33401

Counsel for Defendant Martinez
PHONE: 561-713-1400 x-104
FAX:561-713-1401

E-SERVICE:

EMAIL: rokon@cosplaw.net
FBN: 513873

LYMAN H. REYNOLDS, JR., ESQ.
Roberts, Reynolds, Bedard & Tuzzio, PLLC
470 Columbia Dr., Bldg. C101

West Palm Beach, FL 33409

Counsel for Defendant Boynton Beach
PHONE: 561-688-6560

FAX: 561-688-2343

E-SERVICE: service LHR@rrbpa.com

EMAIL: lreynolds@rrbpa.com

bsmith@rrbpa.com
FBN: 380687

16

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 17 of 35

16-110/nsm/jsg

IN THE CIRCUIT COURT OF THE
FIFTEENTH JUDICIAL CIRCUIT
IN AND FOR PALM BEACH COUNTY, FLORIDA

CASE NO.: 50 2015 CA 014268 XXXX MB AJ
BYRON L. HARRIS, JR.

Plaintiff,
VS.

CITY OF BOYNTON BEACH,

MICHAEL BROWN, MATTHEW MEDEIROS,
STEPHEN MAIORINO, RONALD RYAN,
JUSTIN HARRIS, CORY HERNY,

ALFRED MARTINEZ, and

Other unknown officers,

Defendants.
/

 

NOTICE OF REMOVAL
Please take notice that Defendant, City of Boynton Beach, a Florida municipal corporation,
has filed a notice of removal of this action to the United States District Court for the Southern District
of Florida. Defendants, Michael Brown, Matthew Medeiros, Stephen Maiorino, Ronald Ryan, Justin
Harris, Cory Herny, and Alfred Martinez, have consented to removal. A copy of that notice is
attached hereto as “Exhibit A.”
Please take further notice that, pursuant to 28 U.S.C. § 1446(d), this Honorable Court “shall

proceed no further unless and until the case is remanded.”
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 18 of 35

CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a true and correct copy hereof has been furnished by e-service to

Ys — -
all parties on the attached Counsel List this 8 “day of Sone" 12016.

ROBERTS, REYNOLDS, BEDARD & TUZZIO, PLLC
470 Columbia Drive, Bldg. C101

West Palm Beach, FL 33409

Phone: 561-688-6560/Fax: 561-688-2343

E-Service: service LHR(@rrbpa.com

Email: lreynolds@rrbpa.com
Attorneys for Defendants City

 

 

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 19 of 35

STYLE: HARRIS v. CITY OF BOYNTON BEACH, et al.
CASE NO.: 50 2015 CA 014268 XXXX MB AJ
OUR FILE NO.: 16-110

COUNSEL LIST

LINNES FINNEY, JR., ESQ.

JULIA A. FARKAS, ESQ.

Greenspoon Marder, P.A.

145 NW Central Park Plaza, Suite 200

Port St. Lucie, FL 34986

Counsel for Plaintiff

PHONE: 772-873-5900

FAX: 772-873-3101

E-SER VICE: linnes.finney@gmlaw.com
julia.farkas@emlaw.com

FBN: 353671 / 027740

MICHAEL T. BURKE, ESQ.
Johnson, Anselmo, Murdoch, Burke,
Piper & Hochman, P.A.

2455 E. Sunrise Blvd., Suite 1000
Ft. Lauderdale, FL 33304

Counsel for Defendant Brown
PHONE: 954-463-0100

FAX: 954-463-2444

E-SERVICE: burke@jambg.com

cardona@jambg.com
FBN: 338771

HARRIET LEWIS, ESQ.
GARY K. OLDEHOFF, ESQ.
Lewis Stroud & Deutsch, PL
1900 Glades Rd., Suite 251
Boca Raton, FL 33431

Counsel for Defendant Medeiros
PHONE: 561-826-2800 x-101
FAX: 561-826-2828

E-SERVICE: hlewis@|sdlaw.net
goldehoff@Isdiaw.com
jwright@Isdlaw.net

kklein@|sdlaw.net
FBN: 331015 / 449679

BRUCE W. JOLLY, ESQ.

Purdy Jolly & Giuffreda, P.A.
2455 E. Sunrise Blvd., Suite 1216
Ft. Lauderdale, FL 33304
Counsel for Defendant Maiorino
PHONE: 954-462-3200

FAX: 954-462-3861

E-SER VICE:
EMAIL: bruce@purdylaw.com
FBN: 203637

ROBERT H. SCHWARTZ, ESQ.
McIntosh Schwartz, PL

888 SE 3 Ave., Suite 201

Ft. Lauderdale, FL 33316

Counsel for Defendant Ryan
PHONE: 954-556-1483

FAX: 954-760-953 |

E-SER VICE:

EMAIL: rhs@mcintoschwartz.com
FBN: 301167

OSCAR MARRERO, ESQ.
Marrero & Wyoler
2600 S. Douglas Rd., Ph. 4

_ Coral Gables, FL 33134

Counsel for Defendant Harris

* PHONE: 305-446-5528

FAX:305-446-0995
E-SERVICE:

EMAIL: oem@marrerolegal.com
FBN: 372714

 
Cage 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 20 of 35

DON STEPHENS, ESQ.
Olds & Stephens, P.A.

312 11" St.

West Palm Beach, FL 33401
Counsel for Defendant Herny
PHONE: 561-832-6814
FAX: 561-832-4766
E-SERVICE:

EMAIL: dstephens@oslegal.com
FBN: 604208

ROBERT OKON, ESQ.

Clarfield, Okon, Salomone & Pincus, P.L.
500 8. Australian Ave., Suite 730

West Palm Beach, FL 33401

Counsel for Defendant Martinez

PHONE: 561-713-1400 x-104
FAX:561-713-1401

E-SER VICE:

EMAIL: rokon@cosplaw.net
FBN: 513873

LYMAN H. REYNOLDS, JR., ESQ.
Roberts, Reynolds, Bedard & Tuzzio, PLLC
470 Columbia Dr., Bldg. C101

West Palm Beach, FL 33409

Counsel for Defendant Boynton Beach
PHONE: 561-688-6560

FAX: 561-688-2343

E-SER VICE: service LHR@rrbpa.com

EMAIL: lreynolds@rrbpa.com

bsmith@rrbpa.com
FBN: 380687

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 21 of 35

16-11 0/lhr/rls
IN THE CIRCUIT COURT OF THE
FIFTEENTH JODICTIAL CIRCUIT
EN AND FOR PALM BEACH COUNTY, FLORIDA
CASE NO. 50 2015 CA 014268 XXXX MB AJ
BYRON L. HARRIS, JR.
Plaintiff,
Va.

CITY OF BOYNTON BEACH,

MICHAEL BROWN, MATTHEW MEDEIROS,
STEPHEN MAJORINO, RONALD RYAN,
JUSTIN HARRIS, CORY HERNY,

ALFRED MARTINEZ, and

Other unknown officers,

Defendants.
/

NOTICE OF APPEARANCE
COMES NOW the law firm of ROBERTS, REYNOLDS, BEDARD & TUZZIO, PLLC,
" reserving all rights including the right to object to the jurisdiction of this Court, on behalf of

Defendant, CITY OF BOYNTON BEACH, and hereby enters its appearance for and on behalf of
said Defendant in the above-styled cause.

It is requested that all future pleadings be copied to the undersigned, Attention: LYMAN
H. REYNOLDS, JR., ESQUIRE.

It is requested that Roberts, Reynolds, Bedard & Tuzzio, PLLC be added to the
Certificate of Service list effective immediately.

DESIGNATION OF EMAIL ADDRESS PURSUANT TO RULE 2.516

 

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 22 of 35

The undersigned hereby designates the following e-mail address for the purpose of

service of all documents required to be served pursuant to Rule 2.516 in this proceeding:

Primary Email Address: service LHR(@rrbpa.com

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy hereof has been furnished by e-service

to all parties on the attached Counsel List this 14" day of January, 2016.

ROBERTS, REYNOLDS, BEDARD & TUZZIO, PLLC
A470 Columbia Drive, Bldg. C101

West Palm Beach, FL 33409

Phone: 561-688-6560/Fax: 561-688-2343

E-Service: service LHR@rrbpa.com

Email: lreynolds@rrbpa.com

Attomeys for Defendant City of Boynton Beach

“Fr / = dat
LYMAN If. REYNOLDS, JR!
Florida Bar No: 380687

 

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 23 of 35

STYLE: HARRIS v. CITY OF BOYNTON BEACH, et al.
CASE NO:: 50 2015 CA 014268 XXXX MB AJ
OUR FILE NO.: 16-110

COUNSEL LIST

LINNES FINNEY, JR., ESQ.

JULIA A. FARKAS, ESQ.
Greenspoon Marder, P.A.

145 NW Central Park Plaza, Suite 200
Port St, Lucie, FL 34986

Counsel for Plaintiff

PHONE: 772-873-5900

FAX: 772-873-3101

E-SERVICE: linnes finney@gmlaw.com

julia. farkas@gmlaw.com
FBN: 353671 / 027740

LYMAN H. REYNOLDS, JR., ESQ.
Roberts, Reynolds, Bedard & Tuzzio, PLLC
470 Columbia Dr., Bldg. C101

West Palm Beach, FL 33409

Counsel for Defendant Boynton. Beach
PHONE: 561-688-6560

FAX: 561-688-2343 .

E-SERVICE: service LHR@rrbpa.com

EMAIL: freynolds@rrbpa.com

bsmith@zrbpa.com
FBN: 380687

 

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 24 of 35
Filing # 36943804 E-Filed 01/25/2016 01:12:56 PM

IN THE CIRCUIT COURT OF THE 157"
JUDICTAL CIRCUIT IN AND FOR
PALM BEACH COUNTY, FLORIDA.

BYRON L. HARRIS, JR. CASE NO.: 50-2015-CA-014268-MB

Plaintiff,
VS.

CITY OF BOYNTON BEACH,

MICHAEL BROWN, MATTHEW MEDEIROS,
STEPHEN MAIORINO, RONALD RYAN,
JUSTIN HARRIS, CORY HERNY,

ALFRED MARTINEZ, and other unknown
Officers,

Defendants.
i

 

NOTICE OF APPEARANCE

PLEASE TAKE NOTICE that OSCAR E. MARRERO, ESQ. and LOURDES E.,
WYDLER, ESQ., of Marrero & Wydler, 2600 Douglas Road, PH-4, Coral Gables, Florida
33134, file this Notice of Appearance as counsel for Defendant, JUSTIN HARRIS, and request
that copies of all future pleadings, etc., filed in this case be directed to them.

WE HEREBY CERTIFY that a true and correct copy of the foregoing has been by
Electronically filed with the Clerk of the Court, who will electronically serve on all counsel on
the attached service list, this 25th of January, 2016.

MARRERO & WYDLER

Attomeys for Defendant Justin Harris
Douglas Centre, PH-4

2600 Douglas Road

Coral Gables, FL 33134

(305) 446-5528

(305) 446-0995 (fax)

BY _/s/ Oscar E. Marrero

OSCAR E. MARRERO
F.B.N.: 372714

‘ oem@marrerolegal.com
LOURDES E. WYDLER
F.BWN.: 719811
iew(@marrerolegal.com
ALEXANDRA C. HAYES
E.B.N: 109482

ach@marrerolegal.com

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 25 of 35

Harris v. City of Boynton Beach, et al.
Circuit Court Case No.: 50-2015-CA-014268-MB
Page 2

SERVICE LIST
50-2015-CA-014268-MB

Counsel for Plaintiff:

Linnes Finney, Jr., Esq.

Greenspoon Marder, P.A.

145 N.W. Central Park Plaza, Suite 200
Port St. Lucie, FL 34986

(772) 873-5900

(772) 873-3101 fax

FBN 353671
Linnes.finney@gmlaw.com

Julia A. Farkasa, Esq.

FBN 027740

Julia. farkas@gmlaw.com

Counsel for City:

Lyman H. Reynolds, Jr., Esq.

Roberts Reynolds Bedard & Tuzzio PLLC
470 Columbia Drive, Suite C101

West Palm Beach, FL 33409

(561) 253-2260

(561) 688-2343 (fax)
lreynolds@rrbpa.com

Counsel for Michael Brown:

Michael T. Burke, Esq.
burke@jambg.com

E. Bruce Johnson, Esq.
Johnson@jambg.com

Johnson Anselmo Mrudoch Burke
Piper & Hochman, P.A.

2455 E. Sunrise Blvd., Suite 1000
Ft. Lauderdale, FL 33304

(954) 463-0100

(954) 463-2444 (fax)

Counsel for Matthew Medeiros:

Harriet Lewis, Esq.

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 26 of 35

Harris v. City of Boynton Beach, et al.
Circuit Court Case No.: 50-2015-CA-014268-MB
Page 3

FBN #331015
hlewis@lsdlaw.net
Gary Oldehoff, Esq.
FBN #449679

goldchoff@Isdlaw.net
Nancy Stroud, Esq.

FBN #278564

nstroud@|sdlaw.net
Stephanie Deutsch, Esq.

FBN #503584

sdeutsch@lsdlaw.net
LEWIS STROUD & DEUTSCH, P.L.

1900 Glades Road, #251
Boca Raton, FL 33431
(561) 826-2800

(561) 826-2828 (fax)

Counsel for Stephen Miaorino:

Bruce W. Jolly, Esq.

Purdy Jolly & Giuffreda, P.A.
2455 E. Broward Blvd., Suite 1216
Ft. Lauderdale, FL 33304

(954) 462-3200

(954) 462-3861 (fax)

FBN 203637

bruce@purdylaw.com

Counsel for Ron Ryan:

Robert H. Schwartz, Esq.
McIntosh Schwartz, P.L.

888 SE. 3“ Avenue, Suite 201
Ft. Lauderdale, FL 33316
(954) 660-9888

(954) 760-9531 (fax)
rhs(@mcintoshschwartz.com

Counsel for Cory Herny:

Don Stephens, Esq.

Olds & Stephens, P.A.

312 11" Street

West Palm Beach, FL 33401
(561) 832-6814

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 27 of 35

Harris v. City of Boynton Beach, et al.
Cireuit Court Case No.: 50-2015-CA-014268-MB
Page 4

(561) 832-4766 (fax)
dstephens(@oslegal.com

Counsel for Alfred Martinez:

Robert C. Okon, Esq.

Clarfield, Okon, Salomone & Pincus, P.L.
500 8S. Australian Avenue, Suite 730
West Paim Beach, FL 33401

(561) 713-1400 ext. 104

(561) 713-1401 (fax)

rokon@cosplaw.com

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 28 of 35

Filing # 36854003 E-Filed 01/21/2016 05:16:11 PM

FIFTEENTH JUDICIAL CIRCUIT, IN AND
FOR PALM BEACH COUNTY, FLORIDA

CASE NO. 50 2015 CA 014268 XXXX MB AJ
BYRON L. HARRIS, JR.,
Plaintiff,

V.

CITY OF BOYNTON BEACH,
MICHAEL BROWN, MATTHEW
MEDEIROS, STEPHEN MAIJORINO,
RONALD RYAN, JUSTIN HARRIS,
CORY HERNY, ALFRED MARTINEZ,
and Other Unknown Officers,

Defendants.
{

NOTICE OF APPEARANCE
DON STEPHENS, ESQUIRE, of OLDS & STEPHENS, P.A. hereby enters his
appearance as counsel for Defendant, CORY HERNY, in the above styled cause, and would
request that all future pleadings, correspondence, etc. be furnished to the undersigned.
CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that a true and correct copy of the above notice has been
furnished by electronic mail to: LINNES FINNEY, JR., ESQ., Greenspoon Marder, P.A,
Attorney for Plaintiff, at linnes.finney@gmlaw,com; LYMAN REYNOLDS, ESQ., Roberts,
Reynolds, Bedard & Tuzzio, PLLC, Attorneys for Defendant, City of Boynton Beach, at
lreynolds@rrbpa.com; MICHAEL BURKE, ESQ., Johnson Anselmo Murdoch, et. al,
Attorneys for Defendant, Michael Brown, at burke@jambg.com; BRUCE JOLLY, ESQ,,
Purdy Law, Attorney for Defendant, Stephen Maiorino, at bruce@purdylaw.com; ROBERT

SCHWARTZ, ESQ., McIntosh Schwartz, P.L., Attorneys for Defendant, Ron Ryan,

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 29 of 35

at rhs@mcintoshschwartz.com; OSCAR MARRERO, ESQ., Marrero & Wydler, Attorneys for

 

Defendant, Justin Harris, at oem@marrerolegal.com; ROBERT OKON, ESQ., Clarfield, Okon,
Salomone & Pincus, P.L., Attorneys for Defendant, Alfred Martinez, at rokon@cosplaw.net,

on this al aay of January, 2016.

OLDS & STEPHENS, P.A.
Attorneys for Defendant HERNY
312-11 Street

West Palm Beach, FL 33401
Telephone: (561) 832-6814
Facsimile:---- (961) 832-4766

Ca - d a (ee ee “
By: WY Lj

“DON STEPHENS, Esq.
Florida Bar No,; 604208

  

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 30 of 35
Filing # 36947929 E-Filed 01/25/2016 01:58:41 PM

IN THE CIRCUIT COURT OF THE
FIFTEENTH JUDICIAL CIRCUIT
PALM BEACH COUNTY, FLORIDA

CASE NO. 50-2015-CA-14268 XXXX MB AJ

BYRON L. HARRIS, JR.,

Plaintiff,
VS.
CITY OF BOYNTON BEACH, MICHAEL
BROWN, MATTHEW MEDEIROS,
STEPHEN MAIORINO, RONALD RYAN,
JUSTIN HARRIS, CORY HERNY,
ALFRED MARTINEZ, and Other

Unknown Officers,

Defendants.

NOTICE OF APPEARANCE

 

The Clerk will please note the appearance of the law firm of PURDY, JOLLY,
GIUFFREDA & BARRANCO, P.A. as Aitorneys of Record for the Defendant, STEPHEN
MIAORINO,

[ HEREBY CERTIFY that a copy of the foregoing has been filed with the Clerk of
Court via myfloridacess.com, which will send a copy via e-mail to: LINNES FINNEY, JR.,
Esquire, Greenspoon, Marder, P.A., attorneys for Plaintiff, at linnes.finney@gmlaw.com;
LYMAN REYNOLDS, Esquire, Roberts, Reynolds, Bedard & Tuzzio, PLLC, attorneys for
Defendant Boynton Beach, at lreynolds@rrbpa.com; MICHAEL BURKE, Esquire, Johnson,
Anselmo, Murdoch, et al., attorneys for Defendant Michael Brown, at burke@jambg.com;
ROBERT SCHWARTZ, Esquire, McIntosh & Schwartz, P.L., attorneys for Defendant Ron

Ryan, at rhs@mcintoshschwartz.com; OSCAR MARRERO, Esquire, Marrero & Wydler,

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 31 of 35

attorneys for Defendant, Justin Harris, at oem@marrerolegal.com; ROBERT OKON,
Esquire, Clarfield, Okon, Salomone & Pincus, P.L., attorneys for Defendant, Alfred
Martinez, at rokon@cosplaw.net.; and DON STEPHENS, Esquire, Olds & Stephens, P.A.,
attorneys for Defendant Cory Herny, at dstephens@oslegal.com., this 25th day of

January, 2016.

PURDY, JOLLY, GIUFFREDA & BARRANCO, P.A.
Attorneys for Defendant MIAORINO

2455 East Sunrise Boulevard, Suite 1216

Fort Lauderdale, Florida 33304

Telephone (954) 462-3200

Telecopier (954) 462-3861

E-mail: bruce@purdylaw.com.

BY  /s/ Bruce W. Jolly
BRUCE W. JOLLY
Fla. Bar No. 203637

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 32 of 35
Filing # 36769462 E-Filed 01/20/2016 01:24:15 PM

IN THE FIFTEENTH JUDICIAL CIRCUIT
IN AND FOR PALM BEACH COUNTY, FLORIDA

BYRON L. HARRIS, JR, CASE NO. 502015CA0142684XXXMB AJ

Plaintiff,
Vv.

CITY OF BOYNTON BEACH,
MICHAEL BROWN, MATTHEW
MEDEIROS, STEPHEN MAIORINO,
RONALD RYAN, JUSTIN HARRIS,
CORY HERNY, ALFRED MARTINEZ,
and Other unknown officers,

Defendants.
f

NOTICE OF APPEARANCE OF COUNSEL

TO: ALL PARTIES LISTED HEREIN BELOW:
NOTICE IS GIVEN that the Law Firm of Lewis, Stroud & Deutsch, PL, hereby enters its

appearance as counsel of record for Defendant, MATTHEW MEDEIROS, in the above-styled

action.

Copies of all further pleadings and papers served on Defendant, MATTHEW
MEDEIROS, should be forwarded to:

HARRIET LEWIS, ESQ.
GARY K. OLDEHOFF, ESQ.
Lewis, Stroud & Deutsch, PL
1900 Glades Road, Suite 251
Boca Raton, FL 33431
Telephone: 561-826-2800
Facsimile: 561-826-2828
Primary Email: hlewis@Isdlaw.net; goldehoff@|sdlaw.net
Secondary Email: jwright@Isdlaw.net; kklein@Isdlaw.net

J

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 33 of 35

HARRIS Vv. CITY OF BOYNTON BEACH, ETAL.
CASE NO. SO2Z0ISCADI42Z68XXXXMB
DEFENDANT, MATTHEW MEDEIROS’

NOTICE OF APPEARANCE — HARRIET LEWIS, ESQ.
PAGE 2

CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
via electronic service on this 20th day of January, 2016 to: Linnes Finney, Jr., Esq., attorney
jor Plaintiff, Byron L. Harris, Jr., Greenspoon Marder, P.A., email: linnes.finney@gmlaw.com;
Lyman Reynolds, Esq., attorney for Defendant, City of Boynton Beach, Roberts, Reynolds,
Bedard & Tuzzio, PLLC, Email: lreynolds@rrbpa.com; Michael Burke, Esq., attorney for
Defendant, Michael Brown, Johnson Anselmo Murdoch, et. al., Email: burke@jambg.com:
Bruce Jolly, Esq., attorney for Defendant, Stephen Maiorino, Purdy Law, Email:
bruce@purdylaw.com; Robert Schwartz, Esq., attorney for Defendant, Ron Ryan, McIntosh
Schwartz, P.L., Email: rhs@mcintoshschwartz.com; Osear Marrero, Esq., attorney for
Defendant, Justin Harris, Marrero & Wydler, Email: cem@marrerolegal.com; Don Stephens,
Esq., afiorney for Defendant, Cory Herny, Olds & Stephens, P.A., Email:
dstephens@oslegal.com; and Robert Okon, Esq., attorney for Defendant, Alfred Martinez,
Clarfield, Okon, Salomone & Pincus, P.L., Email: rokon@cosplaw.net.

Respectfully submitted,

/sf Harriet R. Lewis _
Harriet R. Lewis, Esq.

Fla. Bar No. 331015
hlewis@I|sdlaw.net

Gary K.. Oldehoff, Esq.

Fla. Bar No. 449679
goldehoff@Isdlaw.net ©
Lewis Stroud & Deutsch, P.L.
1900 Glades Road, #251
Boca Raton, FL 33431
Telephone: 561-826 2800
Facsimile: 561-826 2828

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 34 of 35
Filing # 36948432 E-Filed 01/25/2016 02:03:10 PM

IN THE CIRCUIT COURT OF THE
FIFTEENTH JUDICIAL CIRCUIT
PALM BEAGH COUNTY, FLORIDA
CASE NO, 50-2015-CA-14268 XXXX MB AJ

BYRON L. HARRIS, JR.,

Plaintiff,

VS.

CITY OF BOYNTON BEACH, MICHAEL

BROWN, MATTHEW MEDEIROS,

STEPHEN MAIORINO, RONALD RYAN,

JUSTIN HARRIS, CORY HERNY,

ALFRED MARTINEZ, and Other

Unknown Officers,

Defendants.
i

NOTICE OF E-MAIL ADDRESS DESIGNATION PURSUANT TO
FLORIDA RULE OF JUDICIAL ADMINISTRATION 2.516

The Defendant STEPHEN MIAORINO, hereby files his Notice of E-Mail Address
Designation Pursuant to Florida Rule of Judicial Administration 2.516. The following
individuals are hereby designated with the respective e-mail addresses for service of
pleadings and documents in this lawsuit:

Primary e-mail: . Bruce W. Jolly bruce@purdylaw.com

Secondary e-mail: Susie Anderson susie@purdylaw.com

| HEREBY CERTIFY that a copy of the foregoing has been filed with the Clerk of
Court via myfloridacess.com, which will send a copy via e-mail to: LINNES FINNEY, JR.,

Esquire, Greenspoon, Marder, P.A., attorneys for Plainiiff, at linnes.finney@gqmlaw.com;

-4-

 
Case 9:16-cv-80148-RLR Document 1-3 Entered on FLSD Docket 01/28/2016 Page 35 of 35

LYMAN REYNOLDS, Esquire, Roberts, Reynolds, Bedard & Tuzzio, PLLC, attorneys for
Defendant Boynton Beach, at Ireynolds@rrbpa.com; MICHAEL BURKE, Esquire, Johnson,
Anselmo, Murdoch, et al., attorneys for Defendant Michael Brown, at burke@jambg.com;
ROBERT SCHWARTZ, Esquire, McIntosh & Schwartz, PL., attorneys for Defendant Ron
Ryan, at rhs@mcintoshschwartz.com; OSCAR MARRERO, Esquire, Marrero & Wydler,
attorneys for Defendant, Justin Harris, at oem@mairerolegal.com; ROBERT OKON,
Esquire, Clarfield, Okon, Salomone & Pincus, P.L., attorneys for Defendant, Alfred
Martinez, at rokon@cosplaw.net.; and DON STEPHENS, Esquire, Olds & Stephens, P.A.,

attorneys for Defendant Cory Herny, at dstephens@oslegal.com., this 25th day of

January, 2016.

PURDY, JOLLY, GIUFFREDA & BARRANCO, P.A.
Attorneys for Defendant MIAORINO
2455 East Sunrise Boulevard, Suite 1216
Fort Lauderdale, Florida 33304
Telephone (954) 462-3200
Telecopier (954) 462-3861

E-mail: bruce@purdylaw.com.

BY  /s/ Bruce W. Jolly
BRUCE W. JOLLY
Fla. Bar No. 203637

 
